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 1

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     MARILYN BRACY
 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                              FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                                    )       Case No. 06CR00184 AWI
12                                                                )
                                         Plaintiff,               )       STIPULATION AND ORDER MODIFYING
13                                                                )       CONDITIONS OF RELEASE OF
              v.                                                  )
14                                                                )       DEFENDANT MARILYN BRACY
     VETERINARY PHARMACEUTICALS,
     INC.,                                                        )
15
     HAROLD DESJARDINS,                                           )
                                                                  )
     JAMES MANN, and
16                                                                )
     MARILYN BRACY                                                )
17                                       Defendants.              )
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              IT IS HEREBY STIPULATED BY AND BETWEEN Mark E. Cullers, Assistant
20   U.S. Attorney, Chief Fresno Office for the United States of America and Defendant,
21   Marilyn Bracy, through her attorney of record Michael A. Dias of the Dias Law Firm that

22   the travel restrictions of Defendant, Marilyn Bracy be modified as follows:
              The defendant shall abide by the following restrictions on her personal
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     associations, place of abode, or travel: restricted to the United States of America.
24
                All other conditions of release remain in full force and effect.
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     STIPU LATIO N AN D O RD ER M OD IFYIN G C ON D ITIO NS O F R ELEASE O F D EFEN D AN T M AR ILYN BR AC Y
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 1

 2   Dated: June 15, 2006                                       /s/ (as authorized on June 15, 2006)
                                                               MARK E. CULLERS
 3
                                                               Assistant U.S. Attorney
                                                               Chief, Fresno Office
 4

 5
     Dated: June 15, 2006                                       /s/
 6                                                             MICHAEL A. DIAS, Attorney for Defendant

 7

 8                                                           ORDER
 9

     IT IS SO ORDERED.
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11
     Dated:        June 16, 2006                                    /s/ Anthony W. Ishii
     0m8i78                                                   UNITED STATES DISTRICT JUDGE
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     STIPU LATIO N AN D O RD ER M OD IFYIN G C ON D ITIO NS O F R ELEASE O F D EFEN D AN T M AR ILYN BR AC Y
